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                 EXHIBIT B-061
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                                                                              FILED IN OFFICE


                  IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATE OF GEORGIA
In Re 2 May 2022 Special
Purpose Grand Jury
                                                    CASE NO. 2202-EX-000024
V.




     REQUEST TO USE A RECORDING DEVICE PURSUANT TO RULE 22 ON
                RECORDING OF JUDICIAL PROCEEDINGS.

Pursuant to Rule 22 of the Uniform Rules for Superior Court regarding Use of
Electronic Devices in Courtrooms and Recording of Judicial Proceedings, the
undersigned    hereby requests    permission    to use a recording     device m
Courtroom 8-D in order to 0record         images and/ or 0sound    during all or
portions of the proceedings in the above captioned case/ calendar.

Consistent with the provisions of the rule, the undersigned    desires to use the
following described recording device(s):   ~computer     of any size, including a
tablet, a notebook, and a laptop; 0smart phone, a cell phone or other wireless
phone;      camera and other audio or video recording devices          any similar
devices CAMERA, MICROPHONE, TRIPOD, CABLE.

The proceedings that the undersigned desires to record commence on (date and
time~UGUST 25, 2022. Subject to direction from the court regarding possible
pooled coverage, the undersigned wishes to use this device in the courtroom on
(date and timeJAUGUST 25, 2022.


The personnel      who will be responsible         for the use of this recording device are:
(identify appropriate personnel   or individual}FOX 5 NEWS (WAGA-TV) STAFF.


The undersigned hereby certifies that the device to be used and the locations
and operation of such device will be in conformity with Rule 22 and any


For questions or concerns email pio@fultoncountyqa.gov                                    1
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guidelines issued by th'? court.

_FOX 5 News (WAGA-TV)_
(News Agency/Media        Outlet/Law      Firm/Individual      Representative}

SAWSHA.STEPHENS@FOX.COM; ASSIGNMENT EDITOR
(Email Address}

404-898-0100
(Phone Number}

ORDER APPROVING/DISAPPROVING REQUEST:
         The request is:
               [8]Approved


              The requesting    agency:
                               be pool for its media
                     [8]Shall not be pool for its media
Under no circumstances is this rule to be construed as permission for filming,
recording, or photography in any other area of the courthouse or courtroom
other than that for which permission is given. The undersigned understands
and acknowledges that a violation of Rule 22 and any guidelines issued by the
court may be grounds for removal or exclusion from the courtroom and a
willful violation may subject the undersigned to penalties for contempt of court.

So ORDERED this 18th day of August 2022.




                                   perior Court                n County
                                Atlanta Judicial     Circuit




For questions or concerns email pio@fultoncountyqa.gov                           2
Rule22 (Rev. 04/01/18)
